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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      Case No. 1:95-cr-70-02
v.
                                                      HONORABLE PAUL L. MALONEY
JEREMY JOSEPH SINGLETON

                  Defendant.
_______________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Jeremy Joseph Singleton has filed a motion for modification or reduction of

sentence pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity

Table with respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 706 and 711 of the United States

Sentencing Guidelines modified the Drug Quantity Table with regard to cocaine base (crack

cocaine). These modifications were made retroactive effective March 8, 2008. U.S.S.G. §

1B1.10(c). Additionally, Amendment 706 provides three exclusions to the application of the

two-level reduction to the sentencing guideline range. One exclusion is that Amendment 706

does not permit a court to apply a two-level reduction if the offense involved more than 4.5

kilograms of cocaine base. Therefore, defendant’s offense level has not changed.

       As Defendant is currently serving a term of imprisonment based on his offense which
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included distributing 13.6 kilograms of cocaine base, the Court is not authorized to reduce his

term of imprisonment based upon the modifications to the sentencing guidelines. Accordingly,

       IT IS HEREBY ORDERED that Defendant Jeremy Joseph Singleton’s motion for

modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (Dkt. #335) is DENIED.




Date: May 12, 2008                             /s/ Paul L. Maloney
                                             Paul L. Maloney
                                             United States District Judge
